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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                             Case No.: 24-21209-LMI

SHIFTPIXY, INC., et. al.1                                          Chapter 7

         Debtors.                                              /

                     TRUSTEE’S VERIFIED NOTICE OF ABANDONMENT

Any parties objecting to said abandonment must file a written objection with the United
States Bankruptcy Court, C. Clyde Atkins United States Courthouse, 301 North Miami
Avenue, Room 150, Miami, FL 33128, with a copy to the undersigned Trustee in
Bankruptcy. Pursuant to Bankruptcy Rule 6007, the proposed abandonment will be
deemed approved without necessity of a hearing or order, if no objection is filed and served
within 14 days after the date of service of this notice.

TO:      ALL INTERESTED PARTIES AND CREDITORS

NOTICE IS HEREBY GIVEN THAT:

         JACQUELINE CALDERIN, Trustee in Bankruptcy herein, pursuant to 11 U.S.C. §

554(a), hereby abandons all personal property located at Public Storage, Units C1143, C1144,

C1145, C1146, C1148, C1149 and C1150 located at 6401 Oak Canyon, Irvine, California 92618.

(collectively, the “Storage Units”), which includes office furniture, computer equipment and

furnishings (collectively, the “Property”).

         The Trustee has determined that there is no benefit to the estate in retaining the Property,

and as such, the Property is burdensome to the estate. Upon expiration of the 14 day waiting

period the Trustee will abandon, dispose and/or destroy the Business Property.

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

transmission of Notices of Filing generated by CM/ECF to those parties registered to receive


1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142
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electronic notice of filing in this case on 0DUFK, 2025.



                                                              By: /s/ Jacqueline
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                                                                                 Caldeirn
                                                              JACQUELINE CALDERIN
                                                              Chapter 7 Trustee
                                                              936 SW 1st Avenue, #880
                                                              Miami, Florida 33130
                                                              T 786.369.8440
                                                              F 786.369.8523
                                                              calderintrustee@gmail.com


Via CM/ECF:
To all parties entitled to electronic notification via CM/ECF
